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     In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-444V
                                         UNPUBLISHED


    SHARON GREGORY,                                           Chief Special Master Corcoran

                         Petitioner,                          Filed: June 5, 2020
    v.

    SECRETARY OF HEALTH AND                                   Special Processing Unit (SPU); Joint
    HUMAN SERVICES,                                           Stipulation on Damages; Influenza
                                                              (Flu) Vaccine; Shoulder Injury
                        Respondent.                           Related to Vaccine Administration
                                                              (SIRVA)


Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Ida Nassar, U.S. Department of Justice, Washington, DC, for Respondent.


                               DECISION ON JOINT STIPULATION1

       On March 26, 2018, Sharon Gregory filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered right shoulder injuries resulting from
the adverse effects of an influenza vaccination administered on December 22, 2016.3
Petition at 1; Stipulation, filed June 3, 2020, at ¶¶ 2, 4. Petitioner further alleges the
vaccines were administered in the United States, that she experienced residual
symptoms of the alleged injury for more than six months, and there has been no prior
award or settlement of a civil action for damages on her behalf as a result of her
condition. Petition at 1, 5; Stipulation at ¶¶ 3-5. “Respondent denies that [P]etitioner

1 Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the decision will be available to anyone with access
to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).

3Respondent noted that Petitioner also received a flu vaccine on November 14, 2016; however, the
petition only references the December 22, 2016 flu vaccination. Petition at 1; Stipulation at 1.
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sustained a SIRVA Table injury and denies that [P]etitioner’s alleged shoulder injury and
its residual effects were caused by either flu vaccine. Respondent further denies that
the flu vaccine caused [P]etitioner any other injury or her current condition.” Stipulation
at ¶ 6.

       Nevertheless, on June 3, 2020, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth
therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $70,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.4

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                                   )
SHARON GREGORY,                                    )
                                                   )
                Petitioner,                        )
                                                   )      No. 18-444V
V.                                                 )      Chief Special Master Corcoran
                                                   )
SECRETARY OF HEALTH AND HUMAN                      )
SERVJCES,                                          )
                                                   )
     Respondent.  )
_________________ )

                                         STIPULATION

        The parties hereby stipulate to the following matters:

        1. Sharon Gregory, petitioner, filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to -34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of an influenza ("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the

"Table"), 42 C.F.R. § 100.3(a).

        2. Petitioner received a flu immunization on November 14, 2016, and on December 22,

2016.

        3. The vaccinations were administered within the United States.

        4. Petitioner alleges that she suffered a shoulder injury related to vaccine administration

("SIRVA"), within the time period set forth in the Table, and that she experienced residual

symptoms of the alleged injury for more than six months.

        5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result of her condition.
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